
718 S.E.2d 406 (2011)
BOYCE &amp; ISLEY, PLLC, et al.
v.
COOPER, et al.
No. 598P02-4.
Supreme Court of North Carolina.
November 9, 2011.
G. Eugene Boyce, Raleigh, for Boyce, Eugene.
Jim W. Phillips, Jr., Alan W. Duncan, Greensboro, Charles E. Coble, Raleigh, for Cooper, et al.
Philip R. Isley, Raleigh, for Isley, Philip R.
Ronald C. Dilthey, Raleigh, for Boyce &amp; Isley, PLLC.
Hugh Stevens, Raleigh, for North Carolina Press Foundation, Inc.
The following order has been entered on the motion filed on the 12th of July 2011 by Defendants to Strike:
"Motion Denied by order of the Court in conference, this the 9th of November 2011."
PARKER, C.J., TIMMONS-GOODSON, J. and HUDSON, J. recused.
